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IN THE UNITED STATES BANKRUPTCY COURT FOR THE

DISTRICT OF DELAWARE S

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In re: Chapter 11

FTX TRADING LTD., ET AL., Case No. 22-11068 (JTD) ;
Debtors (Jointly Administered)

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. §
1111(a). Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the

Federal Rules of Bankruptcy Procedure of the transfer, other than for security, of the claim
referenced in this evidence and notice.

Name of Transferee Name of Transferor
Paxtibi LLP [name and address on file]
221 W Qth St.

Wilmington, DE 19801
Tel: +971 504209612
Email: paxtibi.xyz@gmail.com

Schedule/Claim No. Creditor Name % Transferred Debtor Case No.
Kroll Schedule 5366545 [REDACTED] 100% FTX Trading Ltd. 22-11068
Customer Code 01176262 [REDACTED] 100% FTX Trading Ltd. 22-11068

| declare under penalty of perjury that the information provided herein is true and correct to
the best of my knowledge and belief.

DocuSigned by:

Ecdurivo Metal

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Role: Transferee/Transferee’s Agent
Name: Federico Natali
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Identity of Transferor/Seller

Transferee/Buyer has in its possession an unredacted Transfer of Claim Other Than For
Security and an executed Evidence of Transfer of Claim.

In order to protect the identity of the Transferor/Seller, Transferee/Buyer has not disclosed
the Transferor’s/Seller’s name in the filed Transfer of Claim Other Than For Security and
Evidence of Transfer of Claim.

Upon written request, Transferee/Buyer is prepared to provide a copy of the unredacted
Transfer of Claim Other Than For Security and signed Evidence of Transfer of Claim to the
Bankruptcy Court, the Debtors, and related appropriate professionals.
